

People v Carno (2024 NY Slip Op 05646)





People v Carno


2024 NY Slip Op 05646


Decided on November 14, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2024

Before: Webber, J.P., Singh, Gesmer, González, Scarpulla, JJ. 


Ind No. 70712-22 Appeal No. 3013 Case No. 2022-05128 

[*1]The People of the State of New York, Respondent,
vAlexander Carno, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Jane Merrill of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Michael D. Tarbutton of counsel), for respondent.



Order, Supreme Court, New York County (Charlotte E. Davidson, J.), entered on or about October 20, 2022, which adjudicated defendant a level one sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The record establishes that the "conduct underlying" defendant's federal conviction of conspiracy to commit sex trafficking of a minor is within the scope of the New York State offense of promoting prostitution in the second degree under Penal Law § 230.30(2) (see Matter of North v Board of Examiners of Sex Offenders of State of N.Y., 8 NY3d 745, 753 [2007]). His foreign conviction is a registerable offense under SORA's essential elements test (see People v North, 8 NY3d at 753; People v Washington, 221 AD3d 838, 838 [2d Dept 2023]; People v Luck, 212 AD3d 535, 535 [1st Dept 2023], lv denied 39 NY3d 915 [2023]; People v Blue, 186 AD3d 1088, 1089-1090 [4th Dept 2020], lv denied 36 NY3d 901 [2020]; Correction Law § 168-a[2][a][i], [2][d][i]). The fact that Penal Law § 230.30(2) was amended following his federal conviction does not change this analysis (see Corrections Law § 168-a(2)(d)(i); People v D'Amico, 212 AD3d 664, 665 [2d Dept 2023]; see also People ex rel. Rivera v Superintendent, Woodbourne Corr. Facility, 200 AD3d 1370, 1371 [3d Dept 2021] aff'd 40 NY3d 307 [2023]; People v Parilla, 109 AD3d 20, 28 [1st Dept 2013], lv denied 21 NY3d 865 [2013]). THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2024








